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          Exhibit 1
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THE PAPERWORK REDUCTION ACT OF 1995 (Pub. L. 104.13) Public reporting burden for this collection of information is estimated to
average .10/hour per response, including the time for reviewing instructions, gathering and maintaining the data needed, and reviewing
the collection of information. An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information
unless it displays a currently valid 0MB control number.
